      Case: 1:21-cv-04380 Document #: 1 Filed: 08/18/21 Page 1 of 18 PageID #:1




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION
                                        )
TERRY ANDRESEN; IRINA ANDRESEN,         )
                                        )     No.
     Plaintiffs,                        )
                                        )
vs.                                     )
                                        )
HSBC BANK USA, N.A.; U.S. BANK, N.A.;   )
SERVIS ONE, INC. d/b/a BSI FINANCIAL    )     JURY TRIAL DEMANDED
SERVICES; LIMOSA, LLC; SN SERVICING )
CORPORATION,                            )
                                        )
     Defendants.                        )


                                          COMPLAINT

       Now Come Plaintiffs TERRY ANDRESEN and IRINA ANDRESEN (the “Andresens”

or “Plaintiffs”), by and through their undersigned counsel, and for their Complaint against

Defendants HSBC Bank, USA, N.A., U.S. Bank, N.A., Service One, Inc. d/b/a BSI Financial

Services, Limosa, LLC, and SN Servicing Corporation (collectively “Defendants”), state as

follows:

                                        INTRODUCTION

       In May, 2016, the Andresens entered into a permanent loan modification agreement with

HSBC Bank. The Andresens made monthly payments, pursuant to the permanent modification

agreement, until January, 2019 when mortgage servicer BSI Financial Services, without

explanation, stopped accepting their payments. Instead of simply fixing the apparent error in the

subject loan file, Defendants, and other related entities, transferred the subject mortgage and its

servicing rights to successors like a hot potato, frustrating the Andresens’ and their undersigned

counsel’s efforts to resolve this matter amicably. As a result of Defendants’ conduct, the



                                                  1
      Case: 1:21-cv-04380 Document #: 1 Filed: 08/18/21 Page 2 of 18 PageID #:2




Andresens have been left with no choice but to file this Complaint to obtain the appropriate relief

and damages.

                                 JURISDICTION AND VENUE

1. This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a), because the matter in

   controversy exceeds $75,000, exclusive of interest and costs, and is between citizens of

   different states.

2. Alternatively, this Court has subject matter jurisdiction over Plaintiff's Fair Debt Collection

   Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA") claims pursuant to 28 U.S.C. § 1331

   because such claims arise under the laws of the United States.

3. Given the interrelated nature of Defendants' mortgage servicing and debt collection conduct

   involving Plaintiffs’ mortgage account, this Court should exercise supplemental jurisdiction

   pursuant to 28 U.S.C. § 1367 over Plaintiffs’ state law claims.

4. This Court has personal jurisdiction over Defendants, because they do business in the State

   of Illinois and a substantial part of the wrongful acts alleged in this Complaint were

   committed in Illinois.

5. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2), because Plaintiffs reside

   in this district and a substantial part of the events or omissions giving rise to Plaintiffs’

   claims occurred here.

                                              PARTIES

6. Plaintiff Terry Andresen is a citizen of the State of Illinois and resides in Des Plaines,

   Illinois.

7. Plaintiff Irina Andresen is a citizen of the State of Illinois and resides in Des Plaines, Illinois.




                                                   2
      Case: 1:21-cv-04380 Document #: 1 Filed: 08/18/21 Page 3 of 18 PageID #:3




8. Defendant HSBC Bank U.S.A., N.A. (“HSBC”) is a national banking association with its

   principal place of business located in New York City.

9. Defendant U.S. Bank, N.A. (“U.S. Bank”) is a national banking association with is principal

   place of business located in Minneapolis, Minnesota.

10. Defendant Servis One, Inc. d/b/a BSI Financial Services (“BSI”) is a foreign corporation

   with its principal place of business located in Titusville, Pennsylvania.

11. Defendant Limosa, LLC is a foreign corporation with its principal place of business located

   in Seattle, Washington.

12. Defendant SN Servicing Corporation is a foreign corporation with its principal place of

   business located in Alaska.

                                             FACTS

13. Due to a loss of income, the Andresens fell behind on their mortgage payments and HSBC

   Bank USA, N.A. filed a foreclosure action against them in 2012, captioned HSBC Bank USA,

   N.A. v. Andresen, et al., 12 CH 21545 (Cook Co.).

14. While the foreclosure case was pending, the Andresens’ income increased and they applied

   for a loan modification.

15. On or about October 14, 2015, HSBC offered a loan modification Trial Period Plan (“TPP”)

   to the Andresens. See October 14, 2015 Trial Period Plan Offer, attached hereto as Exhibit

   A.

16. The Andresens accepted the TPP and made the required payments.

17. Accordingly, in or about May, 2016, HSCB offered a permanent loan modification (the

   “Agreement”).




                                                 3
       Case: 1:21-cv-04380 Document #: 1 Filed: 08/18/21 Page 4 of 18 PageID #:4




18. The Andresens executed the Agreement and returned it to HSBC.1

19. The terms of the Agreement included:

             a) A 2% interest rate;

             b) A monthly principal and interest payment of $501.42;

             c) A total monthly payment, including escrow, of $913.72; and

             d) At that time, the unpaid principal balance of the subject mortgage loan was

                  approximately $165,000.00

20. As a result of the Agreement, on June 9, 2016, HSBC, through counsel, filed a Voluntary

    Motion to Dismiss the then-pending foreclosure action “due to a loan modification.” See

    June 9, 2016 Motion to Dismiss, attached hereto as Exhibit B.

21. On June 13, 2016, the Dismissal Order was entered. See June 13, 2016 Dismissal Order,

    attached hereto as Exhibit C.

22. The Andresens continued to make the monthly payments, pursuant to the Agreement, to

    HSBC.

23. On or about November 28, 2016, the subject mortgage was assigned from HSBC to

    Nationstar Mortgage, LLC (“Nationstar”).

24. At or about that time, the servicing rights of the subject mortgage were also transferred to

    Nationstar.

25. The Andersens proceeded to make the monthly mortgage payments, pursuant to the

    Agreement, to Nationstar, and then Mr. Cooper after Nationstar rebranded itself in or about

    October, 2017.



1
 The Andresens sent the original copy of the Agreement to HSBC and did not keep a copy of it, because they did
not expect to have to later prove that they accepted the offer. Therefore, the Agreement is in Defendants’
possession and control.

                                                       4
      Case: 1:21-cv-04380 Document #: 1 Filed: 08/18/21 Page 5 of 18 PageID #:5




26. On or about May 17, 2018, the subject mortgage was assigned from Nationstar to U.S. Bank

   Trust, N.A., as trustee of the Bungalow Series III Trust.

27. At or about that time, the servicing rights of the subject mortgage were transferred to BSI

   Financial Services (“BSI”).

28. The Andresens proceeded to make the monthly payments, pursuant to the Agreement, to BSI.

29. After making about 30 (thirty) monthly payments pursuant to the Agreement, in January,

   2019, BSI inexplicably returned the Andresens’ payment.

30. The Andresens continued to try to make their payments and BSI returned, or refused to

   accept, them.

31. The Andresens attempted to obtain an explanation as to why the payments were not being

   accepted, but BSI would not provide one.

32. Instead fixing the error or at least providing an explanation, BSI told the Andresens that they

   must apply for a loan modification to keep the property.

33. The Andresens applied for a loan modification, but were denied due to “missing

   documentation,” despite providing all requested documents.

34. U.S. Bank filed a new foreclosure action against the Andresens on August 7, 2019, U.S. Bank

   Trust National Association as Trustee of Cabana Series III Trust v. Andresen, et al., 19 CH

   9128 (Cook Co.).

35. The Andersens were forced to retain the undersigned counsel to represent them in the matter.

36. In January, 2020, the undersigned spoke to foreclosure counsel for U.S. Bank about the

   Agreement and his client’s failure comply with its terms.

37. Foreclosure counsel assured the undersigned that he would speak to his client and this

   problem could be resolved without litigation.



                                                 5
      Case: 1:21-cv-04380 Document #: 1 Filed: 08/18/21 Page 6 of 18 PageID #:6




38. U.S. Bank and BSI were aware of the Agreement and the failure to comply with its terms.

39. Instead of resolving the problem, on or about January 29, 2020, U.S. Bank assigned the

   subject mortgage to Atlantica, LLC.

40. At or about that time, the servicing rights of the subject loan were transferred from BSI to

   Land Home Financial Services (“LHFS”).

41. Foreclosure counsel advised that the parties would have to wait for LHFS to receive the loan

   file to discuss a voluntary resolution.

42. Through conversations between counsel and state court pleadings, Atlantica, LLC and LHFS

   were aware of the Agreement and the failure to comply with its terms.

43. Instead of resolving the problem, on or about June 10, 2020, Atlantica, LLC assigned the

   subject mortgage to Lycaste, LLC.

44. At or about that time, the servicing rights of the subject mortgage were transferred from

   LHFS to SN Servicing Corporation (“SNSC”).

45. Through conversations between counsel and state court pleadings, Lycaste, LLC and SNSC

   were aware of the Agreement and the failure to comply with its terms.

46. Instead of resolving the problem, on or about November 24, 2020, Lycaste, LLC assigned the

   subject mortgage to Alaska Louisiana Partners.

47. On January 12, 2021, the state court foreclosure case was dismissed for want of prosecution,

   due to the plaintiff’s repeated failures to respond to the Andresens’ Motion to Dismiss (based

   on the breach of the Agreement and lack of default) and to proceed with the foreclosure.

48. Through conversations between counsel and state court pleadings, Alaska Louisiana Partners

   was aware of the Agreement and the failure to comply with its terms.




                                                 6
      Case: 1:21-cv-04380 Document #: 1 Filed: 08/18/21 Page 7 of 18 PageID #:7




49. Instead of resolving the problem, on or about January 27, 2021, Alaska Louisiana Partners

   assigned the subject mortgage to Argolica, LLC.

50. Through conversations between counsel and state court pleadings, Argolica, LLC was aware

   of the Agreement and the failure to comply with its terms.

51. Instead of resolving the problem, on or about February 3, 2021, Argolica, LLC assigned the

   subject mortgage to Limosa, LLC (“Limosa”).

52. In effort to get this matter behind them and resume making mortgage payments, on April 29,

   2021, the Andresens reluctantly submitted an application for a loan modification. See

   Andresens’ April 29, 2021 Loss Mitigation Packet, attached hereto as Exhibit D.

53. The Andresens provided the address of the subject property as the mailing address. Id.

54. Additionally, the Andresens wrote “Contact through my attorney” in the section requesting

   their contact information. Id.

55. SNSC knew that the Andresens were represented by an attorney.

56. On or about May 24, 2021, SNSC mailed a Loan Modification Trial Period Plan Offer. See

   May 24, 2021 Loan Modification Trial Period Plan Offer, attached hereto as Exhibit E.

57. However, the offer was mailed to an address that was not the subject property

   address/mailing address provided on the Andresens’ application, and it was not mailed to the

   Andresens’ undersigned counsel. Id.

58. Additionally, the terms of the May 24, 2021 offer included:

           a) A 6% interest rate;

           b) A monthly principal and interest payment of $1428.00;

           c) A total monthly payment, including escrow, of $1889.63; and

           d) An unpaid principal balance of approximately $238,000.00



                                                7
      Case: 1:21-cv-04380 Document #: 1 Filed: 08/18/21 Page 8 of 18 PageID #:8




   Id.

59. Thus, the terms of the May 24, 2021 Trial Period Plan offer were quite different than those of

   the May 2016 Agreement in that:

           e) The interest was three times higher;

           f) The monthly principal and interest payment was close to three times higher;

           g) The total monthly payment, including escrow, was over twice as much; and

           h) The unpaid principal balance was approximately $40,000.00 higher

60. In response to the offer, the undersigned asked foreclosure counsel if Limosa/SNSC could do

   anything to lower the interest rate or payment amount.

61. Foreclosure counsel responded that “they cannot.”

62. As of the filing of this Complaint, Limosa, LLC’s Motion to Vacate the Dismissal for Want

   of Prosecution and Substitute Party Plaintiff in the state court foreclosure proceeding has not

   been granted.

                           COUNT I – BREACH OF CONTRACT

                                      As to All Defendants

63. The Andresens repeat and reallaged pagraphs 1-62 as if fully set forth herein.

64. In 2016, HSBC offered the Andresens a permanent loan modification of their mortgage loan.

65. The offer consisted of specific terms. See ¶ 7, supra.

66. The Andersens accepted the offer by signing the Agreement, returning it to HSBC, and

   making the payments required by the Agreement.

67. The Andresens’ consideration was the monthly payments.

68. HSBC’s consideration was dismissing the pending foreclosure case and allowing the

   Andresens to stay in their home.

                                                8
      Case: 1:21-cv-04380 Document #: 1 Filed: 08/18/21 Page 9 of 18 PageID #:9




69. Thus, a contract was formed between HSBC and the Andresens.

70. HSBC breached the terms of the Agreement by failing or refusing to properly apply the

   Andresens’ monthly payments and alleging default.

71. The Agreement was binding on all successors and assigns of HSBC.

72. U.S. Bank breached the Agreement by failing or refusing to properly apply the terms of the

   Agreement to the subject mortgage and alleging default.

73. BSI breached the Agreement by failing or refusing to properly apply the terms of the

   Agreement to the subject mortgage and alleging default.

74. Limosa, LLC breached, and continues to breach, the Agreement by failing or refusing to

   properly apply the terms of the Agreement to the subject mortgage and alleging default.

75. SNSC breached the Agreement by failing or refusing to properly apply the terms of the

   Agreement to the subject mortgage and alleging default.

76. As an actual and proximate result of the breach of contract, the Andresens have suffered

   damages in the form of, inter alia: (1) about 30 months of monthly payments for a mortgage

   that apparently stayed in default; (2) lost time, emotional distress, and aggravation over the

   last two and a half years; (3) attorney’s fees for defending a wrongful foreclosure; (4) a

   wrongfully inflated mortgage loan balance due to improperly-applied payments, wrongful

   interest and fees, and foreclosure counsel’s attorneys’ fees; and (5) wrongfully negative

   credit reporting.

       WHEREFORE, the Andresens respectfully pray this Honorable Court to enter judgment

in their favor and against Defendants and to award:

           a) Specific performance of the May 2016 Permanent Loan Modification Agreement;

           b) Actual damages;



                                                9
    Case: 1:21-cv-04380 Document #: 1 Filed: 08/18/21 Page 10 of 18 PageID #:10




           c) Costs of this action; and

           d) Any and all additional relief this Court deems reasonable and just.

                          COUNT II – PROMISSORY ESTOPPEL

                                     As to Defendant HSBC

77. The Andresens repeat and reallege paragraphs 1-62 as if fully set forth herein.

78. Under Illinois law, promissory estoppel is an offensive, equitable cause of action. Newton

   Tractor Sales, Inc. v. Kubota Tractor Corp., 906 N.E.2d 520, 524, 528 (Ill. 2009).

79. To establish a claim of promissory estoppel, the plaintiff must prove that (1) the defendant

   made an unambiguous promise to the plaintiff; (2) the plaintiff relied on such promise; (3)

   the plaintiff's reliance was expected and foreseeable by the defendant; and (4) the plaintiff

   relied on the promise to her detriment. Newton Tractor Sales, 906 N.E.2d at 523-24 (citing

   Quake Construction, Inc. v. American Airlines, Inc., 141 Ill.2d 281, 309-10, 565 N.E.2d 990

   (Il. 1990)).

80. HSBC unambiguously promised to the Andresens that the subject mortgage loan would be

   modified if the Andresens accepted the offer and made the requisite monthly payments.

81. The Andresens relied on HSBC’s promise by signing the Agreement and making the

   requisite monthly payments.

82. The Andresens’ reliance was expected and foreseeable by HSBC and would be expected and

   foreseeable in any mortgage lender-homeowner relationship.

83. The Andresens’ reliance was reasonable and would be reasonable for any homeowner in

   default.




                                                10
    Case: 1:21-cv-04380 Document #: 1 Filed: 08/18/21 Page 11 of 18 PageID #:11




84. The Andresens relied on HSBC’s promise to their detriment, because they made 30 monthly

   payments in response to the promise, only to end up back in foreclosure for a wrongfully-

   alleged default.

85. As a direct and proximate result of HSBC’s conduct, the Andresens have been damaged in

   the form of, inter alia: (1) about 30 months of monthly payments for a mortgage that

   apparently stayed in default; (2) lost time, emotional distress, and aggravation over the last

   two and a half years; (3) attorney’s fees for defending a wrongful foreclosure; (4) a

   wrongfully inflated mortgage loan balance due to improperly-applied payments, wrongful

   interest and fees, and foreclosure counsel’s attorneys’ fees; and (5) wrongfully negative

   credit reporting.

       WHER EFORE, the Andresens respectfully pray this Honorable Court to enter judgment

in their favor and against Defendant HSBC and to award:

           a) Specific performance of the terms of the May 2016 Permanent Loan Modification

               Agreement;

           b) Actual damages; and

           c) Any and all additional relief this Court deems reasonable and just.

       COUNT III – VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD AND
          DECEPTIVE BUSINESS PRACTICES ACT, 815 ILCS § 505/1, et seq.

                                      As to All Defendants

86. The Andresens repeat and reallege paragraphs 1-62, as if fully set forth herein.

87. The Illinois Consumer Fraud and Deceptive Business Practices Act ("ICFA") forbids unfair

   or deceptive conduct in the course of commerce, and states in relevant part:

   Unfair methods of competition and unfair or deceptive acts or practices, including     but not
   limited to the use or employment of any deception fraud, false pretense, false promise,
   misrepresentation or the concealment, suppression or omission of any material fact, with

                                                11
    Case: 1:21-cv-04380 Document #: 1 Filed: 08/18/21 Page 12 of 18 PageID #:12




   intent that others rely upon the concealment, suppression or omission of such material fact, or
   the use or employment of any practice described in Section 2 of the "Uniform Deceptive
   Trade Practices Act", approved August 5, 1965, in the conduct of any trade or commerce are
   hereby declared unlawful whether any person has in fact been misled, deceived or damaged
   thereby. In construing this section consideration shall be given to the interpretations of the
   Federal Trade Commission and the federal courts relating to Section 5 (a) of the Federal
   Trade Commission Act.

815 ILCS 505/2.

88. The Andresens are “consumers,” as that term is defined by the ICFA.

89. Defendants' acts and omissions occurred in the course of trade and commerce.

90. The terms “unfair” and “deceptive,” as used in the ICFA, are disjunctive, not conjunctive; in

   other words, a practice may violate the prohibition against unfairness while not violating the

   prohibition against deception, and vice-versa.

                                          Unfair Conduct

91. In determining whether a given course of conduct or act is unfair under the ICFA,

   consideration shall be given to the interpretations of the Federal Trade Commission and the

   federal courts relating to Section 5(a) of the Federal Trade Commission Act.

92. The published statement of factors considered by the Federal Trade Commission in

   measuring unfairness are: (1) whether the practice offends public policy; (2) whether it is

   immoral, unethical, oppressive or unscrupulous; (3) whether it causes substantial injury to

   consumers. See also Robinson v. Toyota Motor Credit, 201 Ill. 2d 403, 417-418, 775 N.E.2d

   951, 961 (2002).

93. Courts may find unfairness even if the claim does not satisfy all three criteria. Id.

94. For example, a “practice may be unfair because of the degree to which it meets one of the

   criteria or because to a lesser extent it meets all three.” Id.

95. A court addressing an ICFA Unfairness claim must consider whether the challenged practice,



                                                  12
    Case: 1:21-cv-04380 Document #: 1 Filed: 08/18/21 Page 13 of 18 PageID #:13




   “offends public policy as established by statutes, the common law or otherwise, or, in other

   words, whether it is at least within the penumbra of some established concept of unfairness.”

   Boyd v. U.S. Bank, N.A., No. 10 C 3367, 787 F. Supp. 2d 747, 752 (N.D. Ill. Apr. 12, 2011)

   (citing Ekl v. Knecht, 585 N.E.2d 156, 163 (2nd Dist. 1991).

96. Here, HSBC’s unfair conduct includes:

           a) Failing or refusing to properly apply the terms of the Agreement to the subject

              mortgage loan;

           b) Declaring the loan to be in default, despite the Andresens’ compliance with the

              Agreement;

           c) Assigning the subject mortgage to another entity without resolving the apparent

              problem in the subject loan file.

97. U.S. Bank’s unfair conduct includes:

           a) Failing or refusing to properly apply the terms of the Agreement to the subject

              mortgage loan;

           b) Declaring the loan to be in default, despite the Andresens’ compliance with the

              Agreement;

           c) Filing a foreclosure lawsuit against the Andresens, despite the Andresens’

              compliance with the Agreement;

           d) Assigning the subject mortgage to another entity without resolving the apparent

              problem in the loan file.

98. BSI’s unfair conduct includes:

           a) Failing or refusing to properly apply the terms of the Agreement to the subject

              mortgage loan;



                                                  13
       Case: 1:21-cv-04380 Document #: 1 Filed: 08/18/21 Page 14 of 18 PageID #:14




            b) Failing or refusing to provide an answer as to why the Andresens’ payments,

                pursuant to the Agreement, were being rejected;

            c) Telling the Andresens’ that they must submit a new loan modification application,

                despite the Andresens not defaulting on the Agreement;

            d) Denying the Andresens’ loan modification application due to “missing

                documents,” despite receiving all of the requested documents;

            e) Declaring the loan to be in default, despite the Andresens’ compliance with the

                Agreement;

            f) Transferring the servicing rights to another entity without resolving the apparent

                problem in the loan file.

99. Limosa’s unfair conduct includes:

            a) Failing or refusing to properly apply the terms of the Agreement to the subject

                mortgage loan;

            b) Declaring the loan to be in default, despite the Andresens’ compliance with the

                Agreement;

            c) Offering a loan modification Trial Period Plan with unaffordable terms, including

                an interest rate three times that of the Agreement, monthly principal and interest

                payments three times that of the Agreement, and total monthly payments twice

                that of the Agreement.

100.     SNSC’s unfair conduct includes:

            a) Failing or refusing to properly apply the terms of the Agreement to the subject

                mortgage loan;




                                                 14
       Case: 1:21-cv-04380 Document #: 1 Filed: 08/18/21 Page 15 of 18 PageID #:15




            b) Declaring the loan to be in default, despite the Andresens’ compliance with the

                Agreement;

            c) Offering a loan modification Trial Period Plan with unaffordable terms, including

                an interest rate three times that of the Agreement, monthly principal and interest

                payments three times that of the Agreement, and total monthly payments twice

                that of the Agreement.

101.     The foregoing conduct offends public policy of fair dealing in consumer transaction and

   homeowners keeping their homes when they are granted and comply with permanent loan

   modification agreements.

102.     The foregoing conduct is immoral, unethical, oppressive, and unscrupulous in that it has

   been done to increase the loan balance and keep the loan in default to maximize profits.

103.     Mortgage servicers and foreclosure counsel are not financially motivated to cure defaults,

   even if doing so violates the law.

104.     The foregoing conduct caused substantial injury to the Andresens, and would cause

   substantial injury to any homeowner, as it has resulted in inter alia: (1) lost time, emotional

   distress, and aggravation over the last two and a half years; (2) attorney’s fees for defending

   a wrongful foreclosure; (3) a wrongfully inflated mortgage loan balance due to improperly-

   applied payments, wrongful interest and fees, and foreclosure counsel’s attorneys’ fees; and

   (4) wrongfully negative credit reporting.

         WHEREFORE, the Andresens respectfully pray this Honorable Court to enter judgment

in their favor and against all Defendants and to award:

            a) Actual Damages;

            b) Punitive Damages;



                                                 15
       Case: 1:21-cv-04380 Document #: 1 Filed: 08/18/21 Page 16 of 18 PageID #:16




            c) Attorney's Fees and Costs; and

            d) Any and all additional relief this Court deems reasonable and just.

                      COUNT IV – VIOLATION OF THE
        FEDERAL DEBT COLLECTION PRACTICES ACT, 15 U.S.C. § 1692, et seq.

                                  As to SN Servicing Corporation
105.     The Andresens repeat and reallege paragraphs 1-62 as if fully set forth herein.

106.     The Federal Debt Collection Practices Act (“FDCPA”), at 15 U.S.C. § 1692c –

   Communication in connection with debt collection, states, in relevant part:

(a) Communication with the consumer generally. Without the prior consent of the consumer
    given directly to the debt collector or the express permission of a court of competent
    jurisdiction, a debt collector may not communicate with a consumer in connection with the
    collection of any debt –

                                                ***
(2) if the debt collector knows the consumer is represented by an attorney with respect to such
    debt and has knowledge of, or can readily ascertain, such attorney’s name and address, unless
    the attorney fails to respond within a reasonable period of time to a communication from the
    debt collector or unless the attorney consents to direct communication with the consumer…

   15 U.S.C. § 1692c.
107.     The Andresens are “consumers,” as that term is defined by the FDCPA.

108.     SNSC is a “debt collector,” as that term is defined by the FDCPA.

109.     SNSC knew that the Andresens were represented by an attorney.

110.     The Andresens specifically requested, on their loan modification application, that SNSC

   communicate with them through counsel.

111.     Despite the foregoing, on or about May 24, 2021, SNSC mailed a Trial Period Plan offer

   and communicated with the Andresens in connection with the collection of the subject debt.

   WHEREFORE, the Andresens respectfully pray this Honorable Court to enter judgment in

   their favor and against Defendant SN Servicing Corporation and to award:



                                                 16
    Case: 1:21-cv-04380 Document #: 1 Filed: 08/18/21 Page 17 of 18 PageID #:17




         a) Actual damages;

         b) Statutory damages;

         c) Attorney’s fees and costs; and

         d) Any and all additional relief this Court deems reasonable and just.

                               DEMAND FOR JURY TRIAL

      Plaintiffs demand a trial by jury.



                                           Respectfully submitted,

                                           TERRY ANDRESEN and IRINA ANDRESEN

                                           By and through his counsel,

                                           s/ Werner Gruber__
                                           Werner Gruber, Plaintiffs’ Attorneys

Werner W. Gruber
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                                             17
    Case: 1:21-cv-04380 Document #: 1 Filed: 08/18/21 Page 18 of 18 PageID #:18




                         DOCUMENT PRESERVATION DEMAND

        Plaintiffs hereby demands that Defendants take affirmative steps to preserve all
recordings, data, documents, and all other tangible things that relate to Plaintiffs, the events
described herein, any third party associated with any telephone call, campaign, account, sale or
file associated with Plaintiffs, and any account or number or symbol relating to them. These
materials are likely very relevant to the litigation of this claim. If Defendants are aware of any
third party that has possession, custody, or control of any such materials, Plaintiffs demand that
Defendants request that such third party also take steps to preserve the materials. This demand
shall not narrow the scope of any independent document preservation duties of the Defendants.


s/ Werner Gruber__
Werner Gruber, Plaintiffs’ Attorney




                                                18
